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                                                       ': c   •"

                IN THE UNITED STATES DISTRICT COURT S. .


                FOR THE SOUTHERN DISTRICT OF GEOR^lA^

                          STATESBORO DIVISION
                                                                   Or GA.


THE UNITED STATES OF AMERICA,


               Plaintiff,

                                             6:16CR10-05


JASON TODD SMITH,


               Defendant




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties'        motions have    been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this             day of December, 2016.




                                UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
